                      Case 2:16-cv-02106-PSG-SS                                                          Document 67 Filed 03/28/17                                                          Page 1 of 1 Page ID
                                                                                                               #:1511




    UNITED STATES DISTRICT COURT                                                                              TRANSCRIPT ORDER FORM                                                                  COURT USE ONLY
   CENTRAL DISTRICT OF CALIFORNIA                                                   Please use one form per court reporter per case, and contact court reporter                                        DUE DATE:
                                                                                 directly immediately after e-filing form. (Additional instructions on next page.)
   1a. Contact Person                                                                       2a. Contact Phone                                                3a. Contact E-mail
       for this Order
                        Michelle Stephens                                                       Number
                                                                                                                        415-291-6003                             Address
                                                                                                                                                                                       michelle.stephens@bakerbotts.com


   1b. Attorney Name                                                                       2b. Attorney Phone                                                3b. Attorney E-mail
       (if different)
                        Sarah J. Guske                                                         Number
                                                                                                              415-291-6205                                       Address
                                                                                                                                                                                 sarah.guske@bakerbotts.com

  4. MAILING ADDRESS (INCLUDE LAW FIRM NAME, IF APPLICABLE)                                                    5. Name & Role of
  101 California Street, Suite 3600                                                                               Party Represented
                                                                                                                                          Twilio Inc. - Defendant
  San Francisco, CA 94111
                                                                                                               6. Case Name               TeleSign Corporation v. Twilio Inc.

                                                                                                               7a. District Court                                                            7b. Appeals Court
                                                                                                                   Case Number
                                                                                                                                          2:16-cv-02106-PGS                                      Case Number

  8. INDICATE WHETHER PROCEEDING WAS (choose only one per form):
                    DIGITALLY RECORDED                         TRANSCRIBED BY A COURT REPORTER; NAME OF COURT REPORTER: Marea Woolrich


 9. THIS TRANSCRIPT ORDER IS FOR:                Appeal             Non-Appeal                           Criminal              Civil                 CJA          USA           FPD          In forma pauperis (Court order for transcripts must be attached)

                                                                                                                                                                           You MUST check the docket to see if the transcript has already been filed, and if so,
 10. TRANSCRIPT(S) REQUESTED (Specify portion(s) and date(s) of proceeding(s) for which transcript is requested, format(s), and delivery type):                                 provide the "Release of Transcript Restriction" date in column c, below.
  a. HEARING(S) OR PORTIONS OF HEARINGS (Attach additional pages if necessary. If sealed, a court                                                             (CM/ECF access included          c. RELEASE OF TRANS.
  order releasing transcript to the ordering party must be attached here or emailed to                                          b. SELECT FORMAT(S)                                                                             d.     DELIVERY TYPE
                                                                                                                                                             with purchase of transcript.)      RESTRICTION DATE
  transcripts_cacd@cacd.uscourts.gov.)
                                                            PROCEEDING TYPE / PORTION                                                     TEXT /            CONDEN-    CM/ECF                     (Provide release date of        (One per line, but check with
         DATE                  JUDGE                                                                                             PDF                                            WORD
                                                                                                                                                                                               efiled transcript, or check to    court reporter before choosing
                                          If requesting less than full hearing, specify portion (e.g., witness or time). CJA               ASCII    PAPER      SED     ACCESS
                            (name)           orders: indicate if openings, closings, voir dire, or instructions requested.
                                                                                                                                (email)
                                                                                                                                          (email)            (email)    (web)
                                                                                                                                                                              INDEXING
                                                                                                                                                                                                 certify none yet on file. )       any type but "ordinary.")

     03/20/2017              PSG                                                                                                  ●        ●         ●        ●                                  ●                              EXPEDITED (7-day)




 11. ADDITIONAL COMMENTS, INSTRUCTIONS, QUESTIONS, ETC. CJA Orders: Explain necessity of non-appeal orders & special authorizations to be requested in Section 14 of CJA-24 Voucher (attach add'l pages if needed).




 12. ORDER & CERTIFICATION. By signing below, I certify that I will pay all charges (deposit plus additional), or, where applicable, promptly take all necessary steps to secure
 payment under the Criminal Justice Act.
                                                         Date March 28, 2017                            Signature /s/ Sarah J. Guske
G-120 (3/16)
